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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)        ‫ ܆‬Original    ‫ ܆‬Duplicate Original
            LODGED
   CLERK, U.S. DISTRICT COURT
                                      UNITED STATES DISTRICT COURT
    4/27/2021                                           for the
 CENTRAL DISTRICT OF CALIFORNIA
                -.
   BY: ___________________ DEPUTY            Central District of California
                                                                                              APR 27 2021
 United States of America,
                                                                                                    DTS
                      v.
                                                                  Case No.    5:21-mj-00317
 Sagi Schwartzberg,

                      Defendant.


                                     CRIMINAL COMPLAINT BY TELEPHONE
                                    OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

Between the date(s) of May 13, 2020 and December 10, 2020, in the counties of Los Angeles and San

Bernardino in the Central District of California, the defendant violated:

            Code Section                                          Offense Description

            18 U.S.C. § 2251(a)                                   Production of Child Pornography

         This criminal complaint is based on these facts:

           Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                       /s/ pursuant to Fed. R. Crim. P. 4.1
                                                                               Complainant’s signature

                                                                           L.M. Wall, FBI Special Agent
                                                                                Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                  April 27, 2021
                                                                                    Judge’s signature

 City and state: Riverside, California                             Hon. Kenly Kiya Kato, U.S. Magistrate Judge
                                                                                Printed name and title



AUSA:_Sonah Lee x26924
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                                AFFIDAVIT

I, LISA M. WALL, being duly sworn, declare and state as follows:

                       I. BACKGROUND OF AFFIANT

     1.    I am a Special Agent with the Federal Bureau of

Investigation and have been so employed since June of 2004.            I

am currently assigned to the Violent Crimes Squad of the Los

Angeles Field Office, where I primarily investigate crimes

involving child exploitation and the receipt, possession,

advertisement, transmission, and production of child

pornography.   I am a member of the Inland Regional Child

Exploitation and Human Trafficking Task Force and of the

Riverside County Internet Crimes Against Children/Sexual Assault

Felony Enforcement Team, which investigates such cases.

     2.     My experience as an FBI Special Agent includes

investigating the use of computers and the Internet to commit

crimes.   I have received training and gained experience in

interviewing and interrogation techniques, arrest procedures,

search warrant applications, the execution of searches and

seizures, computer crimes, computer evidence identification,

child pornography identification, computer evidence seizure and

processing, and various criminal laws and procedures.           I have

personally participated in the execution of search warrants

involving the search of social media accounts, email accounts,

and the search and seizure of computer equipment.

     3.    Through my training and experience, I have become

familiar with the methods of operation used by people who

sexually exploit children.      I have received specialized training
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in the areas of computer crimes, child pornography, and the

sexual exploitation of children on the Internet.          This training,

and my experience in these investigations, have given me an

understanding of how people involved with offenses concerning

the sexual exploitation of children use the Internet to further

those offenses.    Additionally, I have had the opportunity to

observe and review numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in numerous forms of media,

including on computers and digital devices.         I have personally

conducted and participated in numerous authorized searches,

including those specifically involving investigations of the

production of child pornography, distribution of child sexual

assault material via peer-to-peer networks, and other violent

crimes against children.

                       II. PURPOSE OF AFFIDAVIT

     4.      This affidavit is made in support of a criminal

complaint against SAGI SCHWARTZBERG (“SCHWARTZBERG”) and arrest

warrant for violations of 18 U.S.C. § 2251(a)(Production of

Child Pornography).

     5.      The facts set forth in this affidavit are based on my

personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all of my knowledge

of or investigation into this matter.        Unless specifically
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indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                            III. DEFINITIONS

     6.      The following definitions apply to this affidavit:

             a.   “Minor,” “sexually explicit conduct,” “visual

depiction,” and “child pornography” are defined as set forth in

Title 18, United States Code, Section 2256.         The term “computer”

is defined as set forth in 18 U.S.C. § 1030(e)(1).

             b.   “Child erotica” means materials or items that are

sexually arousing to persons having a sexual interest in minors,

but that are not necessarily obscene or do not necessarily

depict minors in sexually explicit poses or positions.

             c.   “Computer” is defined as set forth in Title 18,

United States Code, Section 1030(e)(1).

             d.   “Computer hardware” consists of all equipment

that can receive, capture, collect, analyze, create, display,

convert, store, conceal, or transmit electronic, magnetic, or

similar computer impulses or data.       Computer hardware includes

any data-processing devices, including central processing units,

internal and peripheral storage devices such as fixed disks,

external hard drives, floppy disk drives and diskettes, and

other memory storage devices; peripheral input/output devices,

including keyboards, printers, video display monitors, and

related communications devices such as cables and connections;

and any devices, mechanisms, or parts that can be used to

restrict access to computer hardware, including physical keys

and locks.
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             e.    “Email” (electronic mail) is the messages/content

sent from one person to another via a computer or another

digital device or means.     Email may also include files sent as

attachments to or embedded within text messages.          Email can be

sent automatically to a large number of digital addresses via a

mailing list.

             f.    “Internet” is the worldwide network of computers.

It is a noncommercial, self-governing network devoted mostly to

communication and research with roughly 4.57 billion users

worldwide.    The Internet is not an online service and has no

central hub.      It is a collection of computer networks, online

services, and single user components.        In order to access the

Internet, an individual computer or digital device user must use

an access provider, such as a university, employer, or

commercial Internet Service Provider (“ISP”), which operates a

host computer with direct access to the Internet.

             g.    “Internet Protocol” (“IP”) is the primary

protocol upon which the Internet is based.         IP allows a digital

packet of information to travel through multiple networks

(groups of linked computers) on the way to its ultimate

destination.

             h.    “Internet Protocol address” or “IP address”

refers to a unique number used by a computer or other digital

device to access the Internet.      IP addresses can be “dynamic,”

meaning that the Internet Service Provider, as defined below,

assigns a different unique number to a computer every time it

accesses the Internet.     IP addresses might also be “static,” if
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an Internet Service Provider assigns a user’s computer a

particular IP address that is used each time the computer

accesses the Internet.

            i.    ISP is a business that allows a user to dial into

or link through its computer or digital devices thereby allowing

the user to connect to the Internet, often for a fee.           ISPs

generally provide an Internet connection, an electronic mail

address, and, sometimes, Internet browsing software.          A user can

also connect to the Internet through a commercial online service

such as AT&T, Verizon, or Time Warner Cable.         With this kind of

connection, the user gets Internet access and the proprietary

features offered by the online service, such as chat rooms and

searchable databases.

            j.    “Jpeg,” “jpg,” “gif,” “bmp,” and “art” are

graphic image files, namely, pictures.

            k.    “Mpeg,” “mpg,” “mov,” “avi,” “rm,” and “wmv” are

video files.     To use these video files, one needs a personal

computer or other digital device with sufficient processor

speed, internal memory, and hard disk space to handle and play

typically large video files.      One also needs a video file viewer

or client software that plays video files.         One can download

shareware or commercial video players from numerous sites on the

Internet.

            l.    “Records,” “documents,” and “materials,” include

all information recorded in any form, visual or aural, and by

any means, whether in handmade, photographic, mechanical,

electrical, electronic, or magnetic form.
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                    IV. SUMMARY OF PROBABLE CAUSE

     7.    In November 2020, MediaLab Inc., previously known as

Kik Interactive Inc. (“Kik”), an American-based instant

messaging application for mobile devices, submitted a Cybertip

to National Center for Missing and Exploited Children (“NCMEC”)

that one of its users, “drunkesq_o64” was identified as

uploading and sharing suspected child pornography on Kik.           Kik

provided registration information and login records that show

that “drunkesq_064” was registered with the email address of

sagi.schwartzberg@gmail.com (the “SUSPECT EMAIL”) and had

uploaded suspected child pornography from IP address

66.146.71.106 (“SUSPECT IP 1”) and from IP address 99.23.173.186

(“SUSPECT IP 2”).

     8.    The information was subsequently sent to the Fontana

Police Department Internet Crimes Against Children Task Force

(“FPD ICAC”), for further investigation.        The FPD ICAC

subsequently learned that the SUSPECT IP 1 was assigned to the

service account at Schwartzberg & Luther, APC, with a billing

address of 3125 E. Guasti Road, Ontario, California.          The FPD

ICAC also learned that SUSPECT IP 2 was assigned to a Sagi

Schwartzberg (later identified as SCHWARTZBERG) at the residence

at 14179 Dartmouth Court, Fontana, California (“SUSPECT

RESIDENCE”).

     9.    FPD ICAC conducted surveillance at SUSPECT RESIDENCE

to confirm that SCHWARTZBERG resides at SUSPECT RESIDENCE.

     10.   On February 17, 2021, members of the FPD ICAC executed

a state residential search warrant at the SUSPECT RESIDENCE,
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along with a Special Master appointed by the Count of San

Bernardino.

     11.    FPD detained SCHWARTZBERG and interviewed him.

SCHWARTZBERG admitted that “sagi.schwartzberg@gmail.com” was his

email address.    SCHWARTZBERG also admitted that he had

previously shared child pornography in a Kik group chat.

     12.    During the search of the SUSPECT RESIDENCE, FPD ICAC

located an iPhone X, SN-FK1W2UWRJCL6, which contained a hidden

vault application containing file folders that were titled with

names of females.     Specifically, one folder that was labeled as

“Mxxxx” 1 contained sexually explicit images and videos of a minor

female who appeared to be between 13-15 years old.

     13.    FPD ICAC was able to locate and interview the minor

female (“MV 1”) whose images were found in the “Mxxxx” folder in

SCHWARTZBERG’s cell phone.      MV 1 is currently a 15 year old

female who stated that she began messaging with a SnapChat

screen name of “Jason D” and user ID of “xocdrunkx,” later

identified as SCHWARTZBERG, via SnapChat about two years ago.

MV 1 stated that SCHWARTZBERG was aware that she was a minor,

and paid her in Vanilla e-gift cards for her to send him

sexually explicit photos and videos of herself to him via

SnapChat.   MV 1 was aware that SCHWARTZBERG had saved her photos

and videos on his end by taking a screenshot because SnapChat

notifies her when someone takes a screenshot of any image that

she posts or sends.


     1 The name of this folder has been shortened and anonymized
to protect the identity of the minor witness.
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     14.   FPD ICAC, with assistance from FBI, has identified

several other minor females whose sexually explicit images were

located on SCHWARTZBERG’s cell phone, and is currently

attempting to locate and interview them.

                   V. STATEMENT OF PROBABLE CAUSE

     A.    Background on CyberTips and NCMEC

     15.   NCMEC was established in 1984 as a private, nonprofit

501(c)(3) organization.     NCMEC provides services nationwide for

families and professionals in the prevention of abducted,

endangered, and sexually exploited children.         Pursuant to its

mission and its congressional authorization (see 42 U.S.C. §

5773), NCMEC operates the CyberTipline and the Child Victim

Identification Program to assist law enforcement in identifying

victims of child pornography and child sexual exploitation.

NCMEC works with law enforcement, Internet service providers,

electronic payment service providers, and others to reduce the

distribution of child sexual exploitation images and videos over

the Internet.   NCMEC’s CyberTipline is the nation’s centralized
reporting system for the online exploitation of children.           The

public and electronic service providers can make reports of

suspected online enticement of children for sexual acts, extra-

familial child sexual molestation, child pornography, child sex

tourism, child sex trafficking, unsolicited obscene materials

sent to a child, misleading domain names, and misleading words

or digital images on the internet.       NCMEC does not investigate

and cannot verify the accuracy of information reported to NCMEC.

NCMEC forwards the reports of child sexual exploitation to law
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enforcement for purposes of investigation and disposition of

potential criminal wrongdoing to be determined solely by the

relevant law enforcement agency and prosecutor's office.           As

part of the CyberTipline program, internet service providers

that identify suspected child exploitation material on their

systems may send a report to NCMEC.       The reports contain

information such as the account name, name, telephone number,

and ISP address associated with an individual who uploaded

suspected child exploitation material.        The CyberTipline reports

also indicate whether the provider viewed the suspected child

exploitation material.

     B.      Background on Kik

     16.     Kik is a mobile application designed for chatting or

messaging.    Prior to October 2019, Kik was owned and operated by

Kik Interactive, Inc., a Canada-based company operating from

Ontario, Canada.    In October 2019, Kik was acquired by MediaLab,

a multimedia company based in Los Angeles, California.

     17.     According to the publicly available document, “Kik’s

Guide for Law Enforcement,” to use this application, a user

downloads the application to a mobile phone, computer, or other

digital device via a service such as the iOS App Store, Google

Play Store, Apple iTunes, or another similar provider.           Once the

application is downloaded and installed, the user is prompted to

create an account or login to an existing account by entering

the Kik username or email address and the necessary password.

To create a Kik account, users are prompted to enter their first

name, their last name, a Kik username, their email address,
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password, and their date of birth.       Kik does not verify that the

information entered is valid.      For example, Kik does not verify

that the email address entered is valid or that the birthday

entered is the user’s actual birthday.        Kik allows for the entry

of a phone number upon registering but it is not required.

     18.     Once the user has created an account, the user is able

to locate other users via a search feature.         While messaging,

users can then send each other text messages, images, and

videos.

     19.     According to “Kik’s Guide for Law Enforcement,” Kik

users are also able to create chat groups with a limited number

of individuals to communicate in a group setting and exchange

text messages, images, and videos.       These groups are

administered by the group creator who has the authority to

remove and ban other users from the created group.          Once the

group is created, Kik users have the option of sharing a

hyperlink which serves as an invitation to the group.          The Kik

groups are identified by a hashtag (#) followed by the name of

the group.    For example, “#Sports” would be used to identify a

Kik group for people interested in discussing or sharing

information about sports.

     20.     According to Kik’s Law Enforcement Response Team,

Kik’s Terms of Service prohibit users from uploading, posting,

sending, commenting on, or storing content that contains child

pornography and/or child abuse images.        The Terms of Service

also provide that Kik may review, screen and delete user content

at any time if Kik believes use of their services are in
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violation of the law.     According to Kik, Kik has a strong

business interest in enforcing their Terms of Service and

ensuring that their services are free of illegal content, and in

particular, child sexual abuse material.        Accordingly, Kik

reports that it independently and voluntarily takes steps to

monitor and safeguard their platform and that ridding Kik

products and services of child abuse images are critically

important to protecting their users, product, brand, and

business interests.

     21.   According to information provided by Kik, Kik is

mandated by federal law to report to NCMEC any images and/or

videos that would constitute suspected child pornography which

are discovered on the Kik platform.       Kik identifies child

pornography in various ways and trains its employees to report

apparent child pornography.      Kik voluntarily makes reports to

NCMEC in accordance with that training.        After Kik discovers the

suspected child pornography, Kik removes the content from its

communications systems and closes the user’s account.

     C.    Background on Snapchat

     22.   Snapchat, like Kik, is a mobile application designed

for chatting or messaging.      Snapchat is owned and operated by

Snap Inc., a company operating from Santa Monica, California.

When messages or “snaps” are sent over the Snapchat network they

are able to be opened and viewed by the recipient Snapchat user.

Once the snap is opened, it remains viewable for a period of one

to ten seconds (exact time is decided by the sender) before the

snap is permanently deleted from the recipient’s account.           In
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this way, Snapchat users can send one-time, expiring messages to

each other that contain photos and text.

        23.   A recipient Snapchat user can save a snap by taking a

screenshot of the snap.     When a recipient Snapchat user takes a

screenshot of the snap, Snapchat notifies the sending Snapchat

user.

        D.    Kik User “Drunkesq” Is Suspected of Uploading Child
              Pornography

        24.   In November 2020, FPD ICAC received NCMEC CyberTip

Report 82985107 that Media Lab Inc., formerly known as Kik,

(“Kik”) forwarded to NCMEC on November 20, 2020.          On or about

December 28, 2020, FPD ICAC Detective Justin Moyer reviewed the

report and found that Kik provided Information relating to a Kik

account “drunkesq_o64” (account herein referred to as

“drunkesq”).     The information from Kik included a Subscriber

Data Report containing registration information, email address

and login records for an “drunkesq,” a copy of the uploaded

child pornography images and videos, and a report containing

information detailing the date and time the child pornography

images were uploaded and from which IP address they had been

uploaded from.

        25.   Detective Moyer reviewed the Subscriber Data Report

and learned that “Drunkesq” had uploaded suspected child

pornography from SUSPECT IP 1 on October 28, 2020, at 22:23:49

UTC, and from SUSPECT IP 2 on November 15, 2020, at 16:01:40

UTC.
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        26.    The NCMEC Report also provided the following

registration information:

               First Name: Drunk

               Last Name: Esq

               Email:    sagi.schwartzberg@gmail.com (unconfirmed)

        27.    I reviewed the suspected child pornography files

uploaded by “drunkesq” which were forwarded to NCMEC by Kik and

found that these files depict prepubescent girls who appear to

be between the age of 6 to 10 years old, displaying their

vaginal and anal regions and/or engaged in vaginal and anal sex

with adult men, as well as one image which appears to be child

erotica.

               a.   Specifically, one video file titled, “5a7cb53e-

da9e-48c3-8813-7bfaf0b08893.mp4” depicts a prepubescent girl,

who appears to be between the ages of 6-9 years old.          She is

lying on her back, wearing a navy-blue t-shirt and naked from

the waist down.         An adult man wearing red shorts pushed her legs

up to her chest and his erect penis is inserted into the child’s

anus.    The video is approximately 30 seconds in duration and the

camera angle focuses on the anal penetration, then the child’s

face.    The child grunts as if in pain, has her eyes closed and

is grimacing.       The CyberTip Report accompanying the child

pornography video reported that the image was uploaded by

“drunkesq” on October 28, 2020, at 22:23:33 (UTC) from SUSPECT

IP 1.

              b.    I reviewed an image titled “b25e3ef3-d6e3-4db4-

b24f-a00fcb1cca04.jpg,” which appears to be child erotica
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depicting a prepubescent girl between the ages of 6-10 years

old.    The child is lying on her back with her legs spread apart

and pulled up to her chest.      She appears to be wearing thong-

type underwear.     The CyberTip Report accompanying the child

erotic image reported that the image “b25e3ef3-d6e3-4db4-b24f-

a00fcb1cca04.jpg,” was uploaded by “drunkesq,” at 16:01:40 UTC

on November 15, 2020, from SUBJECT IP 2.

        E.    Identification Sagi SCHWARTZBERG

        28.   On or about December 29, 2020, Detective Moyer

searched the website Maxmind.com - an online search tool used to

identify the Internet service provider owning a specific IP

address – for the SUSPECT IP 1.       Detective Moyer learned that

the SUSPECT IP 1 is owned by Ultimate Internet Access Inc.

Detective Moyer served a state search warrant to Ultimate

Internet Access seeking subscriber information for the SUSPECT

IP 1.    In response, Detective Moyer received information that

SUSPECT IP 1 was assigned to service at the law office of

Schwartzberg & Luther, APC, at 3125 E. Guasti Rd., Ontario,

California 91761.

        29.   Detective Moyer also determined that the SUSPECT IP 2

was assigned to AT&T.     Detective Moyer served a state search

warrant to AT&T for subscriber information associated with the

SUSPECT IP 2.     In response, Detective Moyer received information

from AT&T that the SUSPECT IP 2 was assigned to Sagi

SCHWARTZBERG at 14179 Dartmouth Court, Fontana, California

“SUSPECT RESIDENCE”).     The email associated with the internet

service at SUSPECT IP 2 was “sagi.schwartzberg@hotmail.com.”
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The account was established July 7, 2016, and was current as of

January 1, 2021.

     30.     On or about December 29, 2020, Detective Moyer sent a

state search warrant to Google, requesting information

associated with “sagi.schwartzberg@gmail.com, the email account

associated with Kik account “drunkesq”, including subscriber

information, messages, photos, videos, and other information

associated with the account between October 20, 2020, through

December 29, 2020.

     31.     On or about January 5, 2021, Google responded to the

state search warrant and provided the information requested by

the search warrant.    Amongst the information provided by Google

was that the recovery email address for the gmail email account

was “sagi.schwartzberg@hotmail.com,” and telephone number 818-

271-9941.    The “sagi.schwartzberg@gmail.com” was created on

November 9, 2007.    No images or chats were in the searched

account.

     32.     Using a law enforcement database, Detective Moyer

confirmed that telephone number 818-271-9941 was assigned to, or

associated with, Sagi SCHWARTZBERG.

     33.     A search of the California Department of Motor

vehicles for SCHWARTZBERG determined that SCHWARTZBERG had

identified SUSPECT RESIDENCE as his residential address.

     34.     In January 2021, FPD ICAC team members conducted

surveillance at the SUSPECT RESIDENCE and observed several

vehicles registered to SCHWARTZBERG parked at the SUSPECT

RESIDENCE.
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     F.     Kik Account “Hoping4achance” Is Suspected of Uploading
            Child Pornography

     35.    In January 2021, Detective Moyer learned that another

NCMEC Cybertip Report 64297739 had been forwarded to the San

Bernardino County Sheriff’s Department, Rancho Cucamonga Office

(“SBSD”) in February 2020, which appeared to also involve

SCHWARTZBERG.   Detective Moyer was provided with a copy of the

CyberTip and the images and videos associated with this

Cybertip.

     36.    SBSD received NCMEC CyberTip Report 64297739 that Kik

forwarded to NCMEC on February 10, 2020.        Detective Moyer

reviewed the report and found that Kik provided information

relating to the Kik user account ID “hoping4achance_rz6” with

associated email account hoping4achance@yahoo.com and username

of “hoping4achance” (account referred to as “hoping4achance”).

The information from Kik included a Subscriber Data Report

containing registration information, email address and login

records for “hoping4achance,” a copy of the uploaded suspect

child pornography images and videos, and a report containing

information detailing the date, time, and IP address the suspect

child pornography images were uploaded from.

     37.    Detective Moyer reviewed the Subscriber Data Report

and learned that “hoping4achance” had uploaded suspected child

pornography from SUSPECT IP 2, on February 5, 2020.

     38.    Detective Moyer reviewed the child pornography video

uploaded by “hoping4achance” which were forwarded to NCMEC by
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Kik and found the video uploaded from the SUSPECT IP 2 depicted

child pornography.

           a.       Specifically, one video titled, “e31f4bb7-a9ef-

4208-9231-e7a5e11dbf0b.mp4,” approximately 1 minute and 18

seconds in length, depicted a prepubescent child lying on a bed

sleeping.       The only thing showing is her face against a Little

Mermaid bedsheet.      An adult erect penis is shown inches away

from her open mouth and the male begins to masturbate to the

point of ejaculating into the young girl’s mouth.          This video

appears to be a compilation depicting the same acts performed on

a young girl at different times.

     G.     Search of SUSPECT RESIDENCE and Interview of
            SCHWARTZBERG

     39.        On February 11, 2021, the Honorable Joseph Ortiz,

Judge of the Superior Court of California, County of San

Bernardino issued a California state search warrant for the

SUSPECT RESIDENCE.

     40.    On February 17, 2021, members of the FPD ICAC team,

along with a Special Master appointed by the court 2, executed a

state search warrant at the SUSPECT RESIDENCE.         At that time,




     2 Pursuant to California Penal Code, Section 1524, a court
shall appoint a special master to accompany law enforcement when
serving a search warrant when the search warrant is issued for
any documentary evidence in the possession or control of any
person who is a lawyer as defined in California Evidence Code
Section 950, a physician as defined in California Evidence Code
Section 990, a psychotherapist as defined in California Evidence
Code Section 1010, or a member of the clergy defined in
California Evidence Code Section 1030.
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SCHWARTZBERG was present at the home along with his wife and

young children.

     41.    FPD ICAC detained SCHWARTZBERG and interviewed him.

SCHWARTZBERG, in a recorded and Mirandized interview, admitted

that “sagi.schwartzberg@gmail.com” (the email that was

associated with the Kik account “drunkesq”) belonged to him, but

initially denied having a Kik account.        When asked if he had any

child pornography saved onto his iPhone, SCHWARTZBERG stated,

“not that I am aware of, I have girls that I know, but they're

over 18.”   When FPD ICAC described the child pornography videos

and images from Cybertip Report 82985107 to SCHWARTZBERG,

SCHWARTZBERG requested to sit down, then placed his hands over

his face and appeared as if he were crying.

     42.    SCHWARTZBERG then admitted that he never used his any

of his computers for “any of that” and that if law enforcement

had evidence that that someone had uploaded child pornography

from IP addresses assigned to him, then it must be him.

     43.    SCHWARTZBERG then admitted that he used his cell

phone to view child pornography, but that he never uploaded or

downloaded anything.     SCHWARTZBERG admitted that he may have

forwarded a video on a group chat on Kik.        SCHWARTZBERG admitted

that he knew that child pornography was illegal.          SCHWARTZBERG

also stated that law enforcement should not find any child

pornography on his cell phone.

     44.    Following the interview SCHWARTZBERG was transported

to the West Valley Detention Center.
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     H.     Forensic Examination of SCHWARTZBERG’s Cellphone

     45.    During the search of the SUSPECT RESIDENCE, FPD ICAC

seized SCHWARTZBERG’s personal cellphone, an iPhone X, SN-

FK1W2UWRJCL6.     During a forensic examination of the phone, FPD

ICAC found a hidden vault application 3 with file folders titled

with names of females.     One folder, titled “Mxxxxx” contained

images and videos a young female who appeared to be between the

ages of 13 to 15 years, naked in various positions to display

her vagina and/or anal area.      At least six videos and 14 images

appear to be of the same minor female.

           a.     As an example, a video file titled “E31C0434-

5E35-4718-9BCA-E3FCB677FDCF” is a 13 second video recording, and

depicts a pubescent girl about 13-15 years old, in a bathroom,

fully nude.     After making sure that the camera is correctly

angled, she masturbates standing up, facing the camera.           Her

genitalia and her hand are located at the bottom of the screen

but are clearly visible most of the time.

           b.     An image titled “DC32740-E979-484A-9ACF-

4B1E8887A102” depicts the same pubescent girl in a bathroom,

fully nude, her right let propped up on the bathroom counter,

exposing her genitalia and with at least one finger that appears

to be inserted in her genitalia.

     46.    FPD ICAC also found that the user of the iPhone

conducted online searches for “Mxx Mxxxxx” on Google, Instagram

and the Whitepages.com.     The images and information from the

     3 Based on my training and experience, I know that there are
applications which are designed to help users conceal folders on
cellular phones.
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searches appeared to match the female from the “Mxxxx” hidden

vault file.

     47.     Finally, FPD ICAC also found a Venmo account

“xocdrunkx” on SCHWARTZBERG’s phone, which was linked to the

email account “sagi.schwartzberg@hotmail.com.”

     I.      Interview with Minor Victim 1

     48.     Detective Moyer searched online for the name “Mxx

Xxxxxx” and located a profile on Instagram.         An image on the

Instagram account had appeared to have been taken in the same

room as some of the nude images found on SCHWARTZBERG’s phone.

     49.     An additional online search for “Mxx Xxxxxx Xxxxx”

revealed that the victim (“MV 1”) attended Agoura High School.

Detective Moyer contacted Agoura High School and confirmed the

victim attended the school and obtained the contact information

for MV 1’s parents.    On February 19, 2021, Detective Moyer

contacted the MV 1’s mother via telephone and scheduled an

interview for February 22, 2021.

     50.     In a recorded interview with MV 1 on February 22,

2021, the MV 1 identified herself as being 15 years old.           She

also identified herself in the images from “Mxxxxx” file.

     51.     MV 1 reported she was approached online by SnapChat

user, “xocdrunkx,” using the screen name “Jason,” about two

years ago.    MV 1 accessed her cell phone in front of Detective

Moyer to identify the chat thread within Snapchat.          She brought

up a chat between her and a user with the screen name “Jason D”

and a user ID of “xocdrunkx.”      All of the chats had been
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deleted, but MV 1 stated that all of the photos she took were

sent to “Jason” (“xocdrunkx”) utilizing the chat thread.

     52.   When asked if she was surprised that her nude images

and videos were located on SCHWARTZBERG’s phone, MV 1 reported

she was not surprised, as she knew “Jason” (“xocdrunkx”) had

taken a screenshot of her images because Snapchat notified her

when anyone screenshots any images she posts.         MV 1 stated she

did not think anything of it because he had paid her for the

images.

     53.   MV 1 reported she told “Jason” (“xocdrunkx”) that she

was 13 years old when they first began communicating on

Snapchat, and their most recent contact was about one month ago.

The chat thread shown to Detective Moyer indicated that that

chat thread was last active about five weeks ago.

     54.   “Jason” (“xocdrunkx”) offered to pay her to send him

images and videos of herself.      MV 1 was paid approximately $600

in Vanilla e-gift cards in 2020 to send “Jason” sexually

explicit images and videos of herself.        MV 1 estimated that she

may have sent “Jason” about 25 images and 2 videos.

     55.   MV 1 also reported that “Jason” asked her to meet up

with him for sex but she never agreed to it.         “Jason” also asked

her to introduce him to her other friends but MV 1 claimed that

she did not introduce him to any of her friends.

     56.   MV 1 was given a six photo line up, and initially

picked out SCHWARTZBERG as “Jason” but then also stated that

“Jason” looked like two other men in the photo line up.
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     57.    MV 1 said the Vanilla gift cards were sent to her

email account which could be found on her cell phone.            MV 1 then

pulled up the emails containing the Vanilla e-gift cards and

showed them to Detective Moyer.       The following is a breakdown of

the card numbers, denominations, dates, and messages attached to

the gift cards:

Number                   Amount Date                      Note

4118 1005 0404 5153      $50      05/13/2029 22:33        Mxx

05/2029

4118 1005 0236 8284      $25      5/29/2020 18:12         Mxx from Jason

05/2029                                                   for dinner

4118 1005 0205 6822      $25      06/19/2020 16:57        No remitter

06/2029

4118 1005 0062 0512      $50      07/22/2020 14:41        Mxx from J for

07/2029                                                   your trip

4118 1005 0475 1917      $50      08/03/2020 16:53        Mxx from Jason

08/2029

4118 1005 0428 1816      $25      12/10/2020 06:15        Mxx Good Luck
09/2029                                                   on your Move

4118 1005 0496 3009      $25      10/05/2020 10:29        Mxx for School

02/2030

4118 1005 0029 1827      $25      10/11/2020 20:42        Mxx Enjoy your

02/2030                                                   Vanilla Visa

                                                          Gift Card
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4118 1005 0158 5037      $25      11/18/2020    21:26     Mxx surfing

02/2030                                                   stuff

4118 1005 0404           $50      05/13/2020 22:33        Mxx

5153    05/2029

4118 1005 0236           %25      05/29/2020 18:12        Mxx from Jason

8284    05/2029                                           for dinner

4118 1005 0205 6822      $25      06/19/2020 16:57        No remitter

06/2029

4118 1005 0062 0512      $50      07/22/2020 14:41        Mxx from J for

07/2029                                                   your trip

4118 1005 0475 1917      $50      08/03/2020 16:53        Mxx from Jason

08/2029



4118 1005 0428 1816      $25      12/10/2020 06:15        Mxx Good Luck

09/2029                                                   on Your Move

4118 1005 0496 3009      $25      10/05/2020    10:29     Mxx for School

02/2030

4118 1005 0029 1827      $25      10/11/2020    20:42     Mxx Enjoy Your

02/2030                                                   Vanilla Gift

                                                          Card

4118 1005 0158 5037      $25      11/18/2020    21:26     Mxx surfing

02/2030                                                   stuff

       58.   Two gift cards were also in MV 1’s email inbox but had

already expired, and Detective Moyer was unable to pull up the

gift card numbers and dates for those cards.

       59.   MV 1 told Detective Moyer that she did not know why

“Jason” would write messages like “for school” or “for your
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trip.”    MV 1 confirmed that the gift cards were in exchange for

the sexually explicit images of herself that she sent him.

     J.     Result of Search Warrant Return from Yahoo!

     60.    During a review of SCHWARTZBERG’s cellphone, FPD ICAC

had learned that SCHWARTZBERG had an email account,

“sagi.schwartzberg@hotmail.com”, that had received emails from

Venmo for the account with username of “xocdrunkx.”          Detective

Moyer obtained a state search warrant for Yahoo! Email accounts

“hoping4achance@yahoo.com” and “xocdrunkx@yahoo.com.”          During

the review of SCHWARTZBERG’s phone, FPD ICAC found that

“xocdrunkx@yahoo.com” was the email that was linked to

SCHWARTZBERG’s Apple account on his iPhone.

     61.    Yahoo! Responded to the search warrant and provided,

among others, login data for both email accounts.          The email

account “hoping4achance@yahoo.com” was accessed on December 9,

2020, from SUSPECT IP 1, which is assigned to SCHWARTZBERG’s law

office.

     62.    The email account “xocdrunkx@yahoo.com” was accessed

on August 4, 2020, and on October 30, 2020, from SUSPECT IP 1,

SCHWARTZBERG’s law office.      This email account was also accessed

from SUSPECT IP 2, which is assigned SCHWARTZBERG’s personal

residence and SUSPECT RESIDENCE.

     K.     Identification and Interview of Minor Victim 2

     63.    FPD ICAC located another minor female (“MV 2”)whose

images were found on SCHWARTZBERG’s phone.         MV 2 is currently a

17 year old high school student in Rancho Cucamonga.          MV 2’s

mother brought MV 2 to the Fontana Police Department station for
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an interview, at the request of FPD ICAC.        MV 2 admitted to

sending images of herself on Snapchat.        MV 2 readily identified

her photos when shown some of the photos and videos of herself

from SCHWARTZBERG’s phone.      MV 2 remembered that she took and

sent these photos and videos when she was 16 years old to a

Snapchat user “Jason D” with user ID of “xocdrunkx.”

     64.   MV 2 sent “Jason D” videos and photos of herself from

March 2020 through December 2020, and received approximately

$510 in return.    MV 2 never met “Jason D” and only communicated

with him via SnapChat.     “Jason D” offered to meet up with her

and to pay her for sex, but MV 2 never met up with him in

person.

     65.   When “Jason D” would request images and videos from MV

2, he was very specific in instructions, such as, “Can you send

me a picture of your pussy or your fingering your pussy.”

“Jason D” would also request that MV 2 create recordings of

herself engaging in sex with another man in certain positions

and send the recording to him.

     66.   MV 2 never told “Jason D” how old she is.         A search

history on SCHWARTZBERG’s phone’s search history showed that

SCHWARTZBERG had viewed MV 2’s Facebook profile at least once.

     L.    Identification and Interview of Minor Victim 3 and 4

     67.   FPD ICAC identified two sisters in Minnesota, whose

images were also found in the private vault in SCHWARTZBERG’s

phone, and sought FBI’s assistance in interviewing the two

sisters (Minor Victim 3 “MV 3” and Minor Victim 4 “MV 4”).
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     68.   MV 3 is currently 19 years old and met “xocdrunk” on

seeking.com, a dating website.      After connecting with MV 3 on

seeking.com, “xocdrunk” then found her on Snapchat.          “Xocdrunk”

would then offer her money in exchange for nude photos of MV 3.

MV 3 did send him some photos of herself via Snapchat.           MV 3

stated that “xocdrunk” would tell her that her price was too

high and that he could get photos from other girls for cheaper

and try to get her to provide him with photos of herself for a

lower price.   MV 3 recalled that images that she sent to

“xocdrunk” depicted her breasts, but that “xocdrunk” would ask

her to shave her pubic areas for the photos as well.

     69.   MV 3 identified some of the images of herself found on

SCHWARTZBERG’s phone and remarked that she wasn’t sure whether

she was 17 or 18 years old when she sent “xocdrunk” these images

but thinks that she was 17 years old based on how skinny she

looked in the photos.

     70.   MV 3 was aware that her younger sister, who is still a

minor (“MV 4”), was in contact with “xocdrunk” but could not

recall if she had introduced her sister to “xocdrunk” or whether

“xocdrunk” had connected with MV 4 on his own.         MV 3 denied

having been requested to create or send any sexually explicit

images of herself and MV 4 together by “xocdrunk.”          MV 3 was

aware that “xocdrunk” was seeking nude photos from MV 4.

     71.   FBI Minnesota has recently completed an interview with

MV 4 but I have not had a chance to review a recording of the

interview or a report of the interview.
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     M.      Identification and Interview of Minor Victim 5

     72.     NCMEC notified FPD ICAC of Cybertip Report 87219116

that it had identified a female, now 18 years old (“MV 5”), who

had traded sexually explicit materials when she was 17 years old

for money through Venmo, and that one of the buyers was

SCHWARTZBERG. Detective Moyer interviewed MV 5 over the phone.

     73.     MV 5 admitted to Detective Moyer that a couple of

years ago around when she was a minor, she provided nude photos

of herself to people she had met in a Kik group.          MV 5 told

Detective Moyer that she had been offered money for photos of

herself and would always tell the other person that she was 17

years old.    MV 5 stated that she only did it a couple of times

in a short period in her life, and doesn’t do that anymore.

     74.     MV 5 told Detective Moyer that her photos would not be

easily identifiable because she never showed her face.           MV 5

thought that the photos were probably taken in a shower.

                        VI. REQUEST FOR SEALING

     75.     It is respectfully requested that this Court issue an

order sealing, until further order of the Court, all papers

submitted in support of this application, including the

application and complaint affidavit.       I believe that sealing is

necessary because disclosure of complaint affidavit at this time

would seriously jeopardize the investigation, as such disclosure

may provide an opportunity to destroy evidence, change patterns

of behavior, or allow flight from prosecution.         Premature

disclosure of the contents of this affidavit and related

documents may have a significant and negative impact on this
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continuing investigation and may severely jeopardize its

effectiveness.

                            VII. CONCLUSION

     76.   For all the reasons described above, there is probable
cause to believe that SCHWARTZBERG violated 18 U.S.C. § 2251(a)

(Production of Child Pornography).



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 27th day of
April, 2021.




UNITED STATES MAGISTRATE JUDGE
